                   UNITED STATES DISTRICT COURT
                   WESTERN DISTRICT OF MISSOURI
                         SOUTHERN DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
               Plaintiff,                  )
                                           ) Case No.
            vs.                            ) 12-CR-3045-MDH-1
                                           )
                                           )
CHARLES FREDERICK WHITE,                   )
                                           )
               Defendant.                  )


                          SENTENCING
             BEFORE THE HONORABLE M. DOUGLAS HARPOOL
             WEDNESDAY, SEPTEMBER 20, 2017; 9:35 A.M.
                     SPRINGFIELD, MISSOURI


APPEARANCES:

FOR THE PLAINTIFF:              MR. PATRICK J. CARNEY
                                UNITED STATES ATTORNEY'S OFFICE
                                901 St. Louis, Ste. 500
                                Springfield, MO 65806

FOR THE DEFENDANT:              MR. JASON COATNEY
                                LAW OFFICES OF JASON COATNEY
                                939 N. Boonville, Ste. C
                                Springfield, MO   65802

COURT REPORTER:                 MS. JEANNINE RANKIN, RPR, CSR
                                UNITED STATES DISTRICT COURT
                                222 N. Hammons Parkway
                                Springfield, MO 65806



     Proceedings recorded by mechanical stenography;
transcript produced by computer.

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1                         USA v CHARLES F. WHITE
2                       CASE NO. 12-CR-3045-MDH-1
3                               SENTENCING
4                           September 20, 2017
5                             * * * * * *
6                THE COURT: We are here for sentencing of Charles
7    Frederick White. Who appears on behalf of the United States?
8                MR. CARNEY: May it please the Court, Your Honor.
9    United States appears by Patrick Carney on behalf of Timothy
10   Garrison.
11               THE COURT: And the defendant appears by?
12               MR. COATNEY: Jason Coatney, Your Honor. Good
13   morning, sir.
14               THE COURT: Mr. White, would you stand.
15               My name is Doug Harpool. I'm a federal district
16   judge and it's my responsibility this morning to sentence you
17   for the crime of conspiracy to manufacture a thousand or more
18   marijuana plants. That's a violation of 21 U.S.C. 846, 841(a)
19   and (b)(1)(A). It is a Class A felony.
20               The law instructs me to sentence you to a sentence
21   which is sufficient but not greater than necessary to meet
22   objectives of the U.S. sentencing laws. In deciding what your
23   sentence should be, then, the first thing we'll do is consult
24   those laws and determine what the law allows for a sentence
25   for you, what it authorizes. We'll then look at the U.S.
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1    Sentencing Guidelines and see what they have to say about a
2    guideline sentence for you. We'll then listen to the lawyers'
3    arguments about factors that I should consider in sentencing
4    that are described in Title 18, Section 3553(a). The lawyers
5    will make recommendations to me about your sentence and then
6    I'll give you an opportunity to say something to me if you
7    want to. You don't have to say anything. I won't hold it
8    against you if you remain silent. When that's finished, I'll
9    make a final decision on what your sentence should be. All
10   right?
11              THE DEFENDANT: Yes, sir.
12              THE COURT: All right. Go ahead and be seated.
13   Although I do want to ask you, did you read the presentence
14   investigation report?
15              THE DEFENDANT: Did I read it?
16              THE COURT: Yeah, or have it read to you?
17              THE DEFENDANT: We didn't never get -- we only got
18   about halfway through it.
19              Yes, sir.
20              THE COURT: All right. And the -- I have to -- I've
21   read everything that's been submitted to me. I've read some
22   briefing, I've done some independent research on my own but I
23   haven't made a final decision on what I'm going to do in your
24   case, so let's get started.
25              Counsel, the statute that I referenced earlier which
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1    creates this crime appears to require a sentence of at least
2    ten years and as long as life in prison, supervised release of
3    not less than five years, a fine as high as $10 million and
4    then payment of a $100 special assessment.
5               Any disagreement that that's the statute with which
6    we're dealing with?
7               MR. CARNEY: No disagreement from the government,
8    Your Honor.
9               MR. COATNEY: No disagreement, Your Honor.
10              THE COURT: All right. The presentence
11   investigation concludes that under the sentencing guidelines
12   the offense level should be set at 35 and the criminal history
13   at six.
14              This may have been explained to you but I always
15   like to do it on the record, Mr. White. Under the U.S.
16   Sentencing Commission -- that's an institution created by
17   Congress -- and the Supreme Court has ruled that in every case
18   every federal district judge has to adopt -- or calculate what
19   the sentence would be if it was imposed according to the
20   sentencing guidelines of the U.S. Sentencing Commission.
21   That's federal courts from Puerto Rico to Hawaii to Missouri,
22   everywhere. We use the same book, the same criteria.
23              It requires two things in order to calculate a
24   sentencing guideline. You first assign a number to your
25   offense -- it goes as high as 43, is my recollection -- and
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1    then you calculate your criminal history. That's based on
2    your past. That goes as high as six. So across the top of
3    the chart it goes one to six, then down the column it goes up
4    to 43, then on the chart in the back you see where the two
5    meet on the chart and that's what the guideline sentence is.
6               With an offense level of 35 and a criminal history
7    of six, your guideline sentence as suggested by the U.S.
8    Sentencing Guidelines would be a sentence of between 210 and
9    262 months.
10              Is there an objection to the offense level or the
11   criminal history category which this Court needs to address?
12              MR. COATNEY: Your Honor, we filed objections to
13   this. In terms of his criminal history category, no. There
14   was one, Paragraph 29 on page 8, Your Honor.
15              THE COURT: All right. That's the -- in the
16   criminal history category, then, it's the assessment of one
17   point based on the '02 conviction for possession of a
18   controlled substance with intent to distribute?
19              MR. COATNEY: Yes, Your Honor.
20              THE COURT: What is your objection?
21              MR. COATNEY: Your Honor, there's no objection to
22   that. Never mind.
23              THE COURT: All right. There is an objection, I
24   noticed, at least in writing, to the two-point enhancement for
25   maintaining a premises for the purpose of manufacturing,
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1    distributing controlled substance on page 5, Paragraph 15. I
2    didn't know if you wanted to withdraw that or you wanted to
3    argue it or just wanted me to rule it based on what you had
4    written?
5               MR. COATNEY: Please rule upon it based upon what's
6    written, Your Honor.
7               THE COURT: Does the government wish to be heard on
8    that objection?
9               MR. CARNEY: Nothing beyond what Mr. Garrison has
10   already argued to the Court, Your Honor.
11              MR. COATNEY: I guess I would say this, Judge. He's
12   got a home and he's using a building for these growing
13   purposes. It seems to me that this maintaining the entire
14   premises for this or enhancing this for this purposes is --
15   it's not the intent. He didn't go purchase this property to
16   do this. It wasn't designed to cover this up. It was his
17   home.
18              THE COURT: Let me ask -- and I'm going to let you
19   both answer this. I realize that he was growing a lot of
20   marijuana plants. Was he growing them in a warehouse, in a
21   barn, out in the field?
22              MR. COATNEY: A barn.
23              THE COURT: All right. Was there any agricultural
24   use being made of the premises other than marijuana growth?
25              MR. COATNEY: That's it, Your Honor.
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1               THE COURT: The Court is going to overrule that
2    objection. The objection to page 5, Paragraph 15 is
3    overruled.
4               There's a -- there are other objections, I notice,
5    that don't go to the offense level, they're just to the
6    factual material. Those are noted and no admission by the
7    defendant is made as to any material that is objected to.
8               MR. COATNEY: Your Honor, Mr. White would like me to
9    suggest to the Court in terms of the overall amount, the
10   sentencing guidelines calculate the amount of marijuana grown
11   by converting the plant to a specific weight of marijuana and
12   he believes that based upon his growing system that the plants
13   would not grow to a full size that would produce that type of
14   weight associated with the sentencing guidelines, that it
15   would be something much smaller, and therefore it would not
16   rise to the level of the statutory minimum under 21 U.S.C.
17   Section 841.
18              THE COURT: All right. I'm going to look at 2D1,
19   the drug calculation guideline.
20              The presentence investigation report, as I
21   understand it, has used a quantity of between 100 kilograms
22   and 400 kilograms and therefore found an offense level of 24.
23   What quantity does your client claim?
24              THE DEFENDANT: May I say something? When you grow
25   inside, Your Honor, you don't grow a great big, giant plant,
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1    8-, 10-, 12-feet tall kind of situation and --
2               THE COURT: I understand that argument, but what I'm
3    trying to figure out is is there a quantity you agree would
4    have been produced by the number of plants that you had in
5    production?
6               THE DEFENDANT: Yes. In my barn that was on my
7    property, I'd say 10 to 12 pounds.
8               THE COURT: Ten to 12 pounds?
9               THE DEFENDANT: Yes, sir.
10              THE COURT: What's the government say?
11              MR. CARNEY: Your Honor -- and I apologize, I'm not
12   Mr. Garrison so I'm not as familiar with the facts of this
13   case as he would be -- I would note that this was over 1700
14   plants. I believe that the conversion rate is properly stated
15   within the PSR. To believe that 1700 plants would only create
16   10 to 12 pounds, Your Honor, I think is -- I think it's
17   misleading. I think it's self-serving.
18              THE DEFENDANT: There was three barns, Your Honor,
19   and each barn, what I understand, would have about the same as
20   what mine did, 10 to 12 pounds each. We've got a picture of
21   it in the discovery that shows the plants, what size they are,
22   and none of them were over 2-feet tall. In fact, the ones
23   that are hanging --
24              THE COURT: At the time they were seized the
25   question is how big would they have gotten.
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1               THE DEFENDANT: They're about this big, sir
2    (indicating).
3               THE COURT: That doesn't help us for the record
4    because that record just -- Mr. Coatney, you want to try to
5    describe what your client just said in words so it will be
6    preserved?
7               MR. COATNEY: He was using two hands to indicate
8    about a 2 1/2-foot tall plant, Your Honor.
9               What he's suggesting is is that based upon the
10   system for which the plants were being grown, they would not
11   produce a plant that would be something similar to what would
12   be outdoors and produce the amount of marijuana that would be
13   associated with how the sentencing guidelines would be
14   typically calculated.
15              THE COURT: Let me ask you this. Does quantity in
16   any way impact the minimum sentence or would he still be
17   subject to the minimum sentence regardless of the quantity?
18              MR. COATNEY: It's where the guidelines and the
19   statute clash again, Your Honor. The statute references
20   plants and doesn't discern what the size of the plant is. Its
21   cutoff is one thousand plants.
22              THE COURT: It's the guidelines that get interested
23   in how much quantity was produced?
24              MR. COATNEY: Correct.
25              THE COURT: Well, I'll tell you, it's my intent to
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1    sentence way below the guidelines, so I don't know that this
2    is a discussion that in the end has any impact on the actual
3    sentence I'm going to impose.
4               THE DEFENDANT: This little book right here, the
5    reason I brought this, this explains the whole situation there
6    on how to grow, and when you grow inside, sir, you just grow a
7    short little bushy plant.
8               THE COURT: For the record, if, Mr. Coatney, you
9    want to read into the record the identity of that book, you
10   may.
11              MR. COATNEY: Yes, Your Honor. It's Ed Rosenthal's
12   Marijuana Grower's Handbook. It was a book that was seized by
13   the government during the search of the home and was turned
14   over to Mr. White as an exhibit.
15              THE COURT: All right.
16              I'll let the government address, in just reading the
17   presentence investigation report, I can't really discern how
18   the 100 kilograms to 400 kilograms was arrived at. Is that a
19   per-plant calculation?
20              MR. CARNEY: I believe it is, Your Honor. I believe
21   it was based upon the experience of the agents who actually
22   seized -- who actually raided the property and seized the
23   plants and then they did their estimations from there on what
24   the normal production yield would be from each one of those
25   plants.
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1               THE COURT: Is it in a report from the agents or
2    something? I'm up here thinking I have to have some basis on
3    which to make this decision and all I have is the calculation.
4    I'm sure there's something somewhere that led to this
5    calculation but it's not available to me.
6               MR. COATNEY: If I may, Mr. Carney?
7               MR. CARNEY: Uh-huh.
8               MR. COATNEY: Your Honor, there's a conversion table
9    within the guidelines that says for X number of plants equals
10   Y number of quantity.
11              THE COURT: There's no -- the guidelines does not --
12   do not differentiate between plant size or type of plants or
13   anything like that?
14              MR. COATNEY: No, it doesn't concern itself with the
15   size of the plant.
16              THE COURT: I'm going to overrule your objection to
17   the quantity. As I said, in the end it's not going to impact
18   my sentence because I'm going to go way below the guidelines
19   in terms of the sentence I'm going to impose. At least that's
20   my intent for several reasons and I'll explain those more
21   later.
22              Any other objection we need to take up or consider?
23              MR. COATNEY: No, Your Honor.
24              MR. CARNEY: Your Honor -- and this is just for
25   accuracy's sake. I certainly understand the Court's
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1    statements and certainly the government's intention to adhere
2    to its plea agreement as well. And I may be using the
3    wrong -- I'm using a more recent guidelines book. But with
4    the offense level of 35 and criminal history score of six, I'm
5    reading the guideline range of being 292 to 365. I didn't
6    know if I had missed something. I wasn't privy to any of the
7    other prior conversations; I'm only here on Mr. Garrison's
8    behalf. If I'm missing something, I apologize.
9               THE COURT: Actually, that's what I have too. If it
10   was a 35 and a six, it is 292. The 210 to 262 would be if it
11   was an offense level of 32.
12              MR. CARNEY: That's correct, Your Honor.
13              PROBATION OFFICER: That is correct, Judge. So that
14   is incorrect in the PSR.
15              THE COURT: Okay. So it is 292 to 365 would be the
16   guideline sentence range. I'm going to adopt that as my
17   guideline sentence.
18              Let's go on and talk about what this defendant's
19   sentence should be in this case. Obviously it has to be
20   something Congress allows me to do, but then I am able to
21   consider and I have to consider the guidelines. But now let's
22   talk about what this sentence should be.
23              What is your recommendation, Mr. Carney?
24              MR. CARNEY: Your Honor, on behalf of Mr. Garrison
25   the government did file a sentencing memorandum. We are
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1    requesting the mandatory minimum of 10 years as is authorized
2    by Congress for the particular offense to be followed by a
3    supervised release of five years, Your Honor. We're also
4    asking for payment of special assessment of $100.
5               Your Honor, Mr. Garrison went into some detail in
6    the sentencing memorandum to the Court that was filed on
7    July 26th of this year. We would just highlight that given
8    the defendant's age, physical infirmity, we believe that the
9    mandatory minimum is the appropriate sentence in this case.
10              THE COURT: Let me ask you. It is your position on
11   behalf of the government that the mandatory minimum, there is
12   no mechanism by which under the guidelines the mandatory
13   minimum may be set aside; is that correct?
14              MR. CARNEY: Absent the filing of a 5K motion for
15   downward departure, Your Honor, I'm unaware of any mechanism
16   to allow us to go below that.
17              THE COURT: And health and age concerns alone, in
18   the position of the government, are not sufficient to
19   disregard the Congress's order on a minimum sentence?
20              MR. CARNEY: That's correct, Your Honor.
21              Thank you, Your Honor.
22              THE COURT: You'll recall we had this set for
23   sentencing earlier and I specifically asked the parties to
24   look into that issue because of the health issues faced by
25   this defendant and I think both sides did. I guess I haven't
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1    seen anybody tell me they think there's anything that allows
2    me to disregard the mandatory minimum.
3               MR. COATNEY: I actually found the sort of reverse
4    of it, Your Honor, several cases that -- what I looked at
5    specifically was home confinement based upon certain factors
6    that would come under departure issues for the guidelines.
7    There's plenty of authority that allows you to do that;
8    however, it goes up against the statute. And the only
9    mechanisms to get below the statute are 3553(e) and 3553(f).
10   (f) is the safety valve. Because of Mr. White's criminal
11   history category, he's not eligible for that. Mr. Garrison
12   and I discussed 3553(e) and if there was some mechanism for
13   getting there but he felt like that wasn't something that was
14   possible. So, you know, you're left with the statute.
15              And it's an interesting sort of time, Judge. I
16   recognize that Mr. White's been before a court like this
17   before and under certain circumstances you would say, Well,
18   looking at 3553(a), what are we focused on here in terms of
19   Mr. White? He's never engaged in any violence. He's never
20   been accused of trafficking or anything like that in terms of
21   cartel or trafficking to kids or otherwise.
22              An interesting change in the law occurred in 2013
23   where the government started looking at those types of factors
24   and saying, Are we going to try and prosecute those people?
25   They made that decision to only sort of analyze those
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1    questions in specific states where the voters of those states
2    had decriminalized marijuana within their jurisdiction and
3    that obviously runs afoul of the Controlled Substances Act.
4    And it leaves -- and the phrase I've used with the Court
5    before is it's sort of a schizophrenic state as it relates to
6    our drug policy. You've got the Department of Justice on one
7    street in Washington, D.C., and the IRS on the other side of
8    the street and they're fighting each other over the way
9    they're treating marijuana manufacturing in the United States.
10   The DOJ is allowing it to occur in some areas. The IRS is
11   still taxing everybody at a 100 percent rate because it
12   violates the Controlled Substances Act. So even our own
13   government when they're facing each other in Washington, D.C.,
14   are taking different policies.
15              I understand it's not legal in this state. There is
16   a state within our circuit where it's legal and they're
17   issuing licenses now to businesses to do exactly what you're
18   going to send him to prison for.
19              THE COURT: Does your client wish to address the
20   Court?
21              MR. COATNEY: He does, Judge. This is a pretty
22   lengthy letter that he's written. He's asked that I read it
23   because his eyes are infirm, Your Honor.
24              THE COURT: That's fine. You may do so.
25              MR. COATNEY: Yes, sir, please.
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1               THE COURT: I'll warn you, because you're reading,
2    don't go too fast so our court reporter can get it all down.
3               MR. COATNEY: Yes, sir, Judge. Thank you.
4    (As read by Mr. Coatney.)
5               "Judge Harpool, I thank you for giving me this
6    semi-final opportunity to plead my case for possible rational
7    consideration by Your Honor and P.A. Mr. Garrison. The
8    eventual reality of having to speak in public courtroom is a
9    frightening prospect for me and most likely would be a
10   devastating failure. Some people relish the opportunity to
11   express themselves, I do not.
12              "I will attempt to stand as long as possible to
13   speak of the hurt, anguish and monetary stress that I have
14   thrust upon my older brother, the reverend Dr. Jim White. His
15   counseling and prayer applications has sustained me these five
16   and a half years with 31 months in deplorable Greene County
17   Jail, a holding pen facility. Having spent my first month in
18   real FDC in Englewood, Colorado, the difference is
19   overwhelmingly cruel here. During my fearful hallucination I
20   will attempt to show and reflect my true heart of hearts,
21   remorse to everyone damaged by my stupidity, ignorance and
22   violation of federal laws of our great country. I will be
23   punished accordingly, I'm sure. For simplicity sake, I've
24   written a type of rambling monologue mixed with commentary
25   that can all be fact checked for authenticity. My sources
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1    were documentaries by NPR, USA Today, Find Law, Harvard
2    Research Institute, Federal Research from Scottsdale Research
3    Institute, Phase No. 2, Ms. Sue Sustey," S-U-S-T-E-Y,
4    "American Epilepsy Association, VA approval, and Dr. Casette,"
5    C-A-S-E-T-T-E, "M.D. neuropathic back surgeon, his recent
6    medical findings and novel.
7               All of the below illnesses have shown that marijuana
8    will slowly and possibly stop the progression and sometimes
9    cure the pain or disease. Please note here that marijuana has
10   no carcinogens when grown organically and has not been linked
11   by consumption to any single death. To illustrate, my lungs
12   have been x-rayed six to eight times and are in excellent
13   condition. Below is my research findings along with
14   Dr. Teri," T-E-R-I, "Joe Gradon," G-R-A-D-O-N, "M.D. of the
15   family Pharmacy NPR.
16              "Neuropathic back pain, cancer, glaucoma, AIDS, HIV,
17   Hepatitis C, LSA, Tourette's Syndrome, Crohn's disease, PTSD,
18   ulcer colitis, severe arthritis, fibromyalgia, Alzheimer's
19   disease, autism CBDs, epilepsy, seizures, CBDs, multiple
20   sclerosis and macular degeneration of eyes. Note, CBDs have
21   no THC and are available through doctors in over 40 states
22   presently.
23              "Israel dominates marijuana research especially
24   CBDs. Their nursing homes all smoke pot. The United Kingdom
25   is second only in research to Israel. Canada and Mexico have
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1    recently approved medical marijuana usage. Uruguay in South
2    America is totally legal, as are over a half dozen European
3    countries. Recently pot is now on the Canadian USA stock
4    exchange. Two companies are Internet linked under Pot for
5    Profit. Canada -- can and profit from pot manufacturing --
6    can profit from pot.com.
7               "The latest poll showed pot for medical approval is
8    93 percent nationwide and 59 percent for recreational pot
9    usage. Pot is now legal for 35 grams in Kansas City and
10   Columbia, Missouri. Thirty-one states have approved medical
11   pot with 8 recreationally. As of June 2017 West Virginia's
12   state Congress is the first state to legalize pot without an
13   election vote. In the spring of 2016 Congress asked the DEA
14   to reclassify marijuana. The DEA denied it because of no
15   scientific proof of medical benefits. How can research begin
16   without their approval? So pot remains a Schedule I with
17   heroin. Something is terribly wrong here.
18              "I was wrong in disobeying the Court and Congress's
19   intent and I know you are only following what they have
20   ordered.
21              "Judge Russell Clark said at my last sentencing in
22   January of 1990: This seems excessive. A year or so later he
23   approved a reduction of five years' supervised release to
24   three years. He was a good man.
25              "This year two more federal judges, Mark Bennett of
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1    the northern district of Iowa and Jim Gray Jr. and senior of
2    southern California have both said: The punishment does not
3    fit the crime. His medical problem and the mandatory minimums
4    are warranted and 80 percent of mandatory minimums are unfair
5    and, yes, I've considered resigning but I'm not ready yet.
6    Because of the Lynn Bias athlete death that Congress did not
7    confer with any of his 640 constituents or the BOP, judicial
8    system and the medical experts that the medical marijuana and
9    the get tough on crime bill was unworthy of such Draconian
10   punishments.
11              "In closing, I'm only pleading your cooperation in
12   honoring my plea agreement and the verbal agreement that
13   Mr. Garrison said he would consider a positive ruling. I
14   understand that BOP has the final say-so authority, not you.
15   Below are the four considerations. Any downward departure
16   would be retroactive for me, placement at a Springfield
17   medical housing Unit No. 9 at the federal medical center, camp
18   custody level and compassionate relief for macular
19   degeneration of the eyes, knee problems, swollen legs, high
20   blood pressure, teeth denture problems, hepatitis C, allergies
21   and overweight problems. No. 4 is the drug education program.
22   And any kind of sentence reduction that becomes available if
23   the law is changed.
24              "I do sincerely appreciate your time and
25   consideration. I've been taught and believe in praying not
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1    only for my friends, family and foes but for you and
2    Mr. Garrison nightly and every morning.
3               "Respectfully submitted, Charles White."
4               THE COURT: Any reason I shouldn't impose sentence
5    at this time?
6               MR. CARNEY: No, Your Honor. Thank you.
7               MR. COATNEY: No, Your Honor.
8               THE COURT: I'm going to let you stay seated because
9    it looks like you were struggling a little bit when you had to
10   stand up. I'm going to impose sentence at this time.
11              Let me -- let me say, first of all, that I
12   understand there is severe disagreement in the -- among
13   criminal justice system as to how to treat marijuana. Those
14   states that have put it up to a vote have generally approved.
15   I don't know if they all have but many, many have, have
16   approved medical marijuana, others have approved even a
17   broader use of marijuana. And yet the public just
18   overwhelmingly elected a president who appointed an attorney
19   general who has said he is going to reverse lack of
20   enforcement of marijuana laws and become aggressive again. So
21   if there's such overwhelming approval of the change in
22   marijuana laws, it's not yet reflected in the elections.
23              Congress certainly could change this law at any
24   time. The Missouri legislature could have changed Missouri
25   law at any time. In Missouri it hasn't even been placed on
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1    the ballot yet. There is an effort to do that, I understand,
2    and it may happen this year but they haven't been able to get
3    enough to put it on the ballot and the legislature hasn't
4    approved it. And while it's been decriminalized in a couple
5    cities, that doesn't make it legal to use in those cities if
6    the state wants to pursue charges.
7               It is my responsibility to pursue the law as it's
8    now written. I once was in the state legislature, by the way,
9    got to write laws. That was 25 years ago. Now I'm a judge
10   and I have to enforce the law that others write. Much of the
11   message that you read to me is properly directed to the
12   legislators about the need for change or the arguments for
13   change.
14              For me it is concerning -- and then you've
15   acknowledged your failure in this regard -- that in this
16   country we don't get to pick and choose which laws we follow.
17   We don't get to just follow the ones we agree with. We have
18   to follow all of them. And I understand that you don't agree
19   with this law and that many, many don't agree with these laws
20   about marijuana but as a citizen we still have an obligation
21   to follow them, and you didn't and you haven't repeatedly.
22              In 1980 in Oklahoma, cultivation of marijuana; in
23   1989, manufacturing marijuana -- I think that's the one you
24   mentioned Judge Clark sentenced you on -- possession of a
25   controlled substance with intent to distribute when you were
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1    61 in '02, and here you are again.
2                No matter how fervently you may believe the
3    marijuana laws are wrong, civilized society can't tolerate
4    someone repeatedly violating a law just because they don't
5    agree with it. To the extent -- and I remind you that under
6    the current law you're facing a minimum of 10 years in prison
7    and you could be sentenced for the rest of your life, which
8    for a young person shows there's still severe consequences.
9    And I realize some states license people to grow marijuana but
10   Missouri is not one of them. Even in those states there are
11   severe regulations and taxation that are accompanied with
12   licensure.
13               Your guideline here, the sentencing experts in our
14   country, the U.S. Sentencing Commission, say that someone with
15   your criminal history who did what you did ought to go to
16   prison for 292 to 365 months. So there's little doubt that
17   your persistent disregard for the law in the eyes of the
18   sentencing experts call for and justify a very severe
19   sentence.
20               It is my intent to give you the minimum sentence
21   recommended by the government. Frankly, it would have been my
22   preference if we could have found a charge to give you that
23   wouldn't have a minimum sentence with it, but they have their
24   job and I have my job. And you are guilty of this crime and
25   therefore you have to be sentenced the way the Congress says
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1    you should be sentenced for this crime.
2               I postponed your last sentencing hearing because I
3    did a lot of independent research, frankly, to try to find a
4    way around the minimum sentence, including calling the U.S.
5    Sentencing Commission and asking for input if there was a way
6    to get around it. And they mentioned the safety valve portion
7    of the statute, which you don't qualify for because of your
8    criminal history, as your lawyer said. What we call a 5K
9    agreement is when you provide information to the government
10   that's helpful for convicting other people and you don't have
11   that kind of agreement nor that kind of situation. And that
12   help and medical condition alone is not sufficient to go below
13   the minimum sentence.
14              But they did point out to me Guideline Section 1B1.
15   13. I'm not sure that you meet the requirements of that or
16   will, but there are comments there about the medical condition
17   of a defendant. And so I, as part of my judgment and
18   commitment, am going to encourage the Bureau of Prisons to
19   consider whether your health and age are such that you should
20   be considered for compassionate release. Understand that's a
21   Bureau of Prisons' ultimate decision but I will reflect that I
22   would be inclined to approve any request for compassionate
23   release under certain terms if presented to me, but that
24   evaluation is by law one of the Bureau of Prisons and not for
25   me.
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1               So it is the judgment of this Court that defendant
2    Charles Frederick White is committed to the custody of the
3    Bureau of Prisons for 120 months. I'm going below guidelines
4    because of your health and medical condition based on the
5    recommendation of the government also but also my own
6    decision. You will be placed on supervised release for five
7    years after completing the prison term. I don't think you
8    have the ability to pay a fine; I'm not going to impose a
9    fine. You will have to pay a $100 special assessment.
10              While you're on supervised release the defendant
11   will comply with the mandatory and standard conditions that
12   have been adopted by the Court. In addition, you will comply
13   with the special conditions listed in Part D of the
14   presentence investigation report.
15              Again, I encourage the Bureau of Prisons to review
16   your case carefully and to determine whether or not a
17   compassionate release of some sort isn't an appropriate
18   consideration given your situation.
19              I will recommend that you be placed in the United
20   States Medical Center here in federal -- in Springfield. I
21   know you have relatives, I think they were maybe Colorado
22   or --
23              THE DEFENDANT: Yes, sir.
24              THE COURT: I don't know where in Colorado is an
25   institution. Is that a second request? If they can't place
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1    you or won't place you in the medical center here, would you
2    prefer to be in Colorado?
3               THE DEFENDANT: Yes.
4               THE COURT: Then as a secondary if they can't place
5    you in Springfield, then I'll ask them to place you in --
6    somewhere in Colorado at least perhaps where your family or
7    other acquaintances can contact you.
8               The government has counts to dismiss.
9               By the way, I should say I sentenced you on the
10   superseding indictment, Count 1 of the superseding indictment.
11              MR. CARNEY: Your Honor, the government would
12   dismiss at this time all other preceding indictments or
13   superseding indictments as well as the remaining counts to
14   which the defendant did not plea. I also believe, Your Honor,
15   we are withdrawing the forfeiture allegation as well.
16              THE COURT: Forfeiture allegation will be shown as
17   withdrawn. I find that all remaining counts against this
18   defendant are dismissed, and in particular that's Count 1 of
19   the original indictment and Count 2 of the superseding
20   indictment plus any other counts that are pending against him.
21              Anything further on behalf of the government that I
22   need to address?
23              MR. CARNEY: No. Thank you, Your Honor.
24              THE COURT: Anything further on behalf the
25   defendant?
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1               MR. COATNEY: No, Your Honor. Thank you.
2               THE COURT: All right. This is not a sentence I'll
3    tell you I feel particularly good about but you know when you
4    take an oath to take an office, you swear to follow the law,
5    and this is the law and so that's what your sentence is going
6    to be.
7               Good luck to you, sir.
8               We'll be in recess.
9               (Court stands in recess at 10:17 a.m.)
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1                    CERTIFICATE OF OFFICIAL REPORTER
2         I, Jeannine M. Rankin, Federal Official Court Reporter,
3    in and for the United States District Court for the Western
4    District of Missouri, Southern Division, do hereby certify
5    that the foregoing is a true and correct transcript of the
6    stenographically reported proceedings.
7
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9
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11                              /s/ Jeannine M. Rankin
12   Date:      10/12/17       Jeannine M. Rankin, CCR, CSR, RPR
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